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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 11

BOY SCOUTS OF AMERICA AND                                           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                     Debtors.



                                       CERTIFICATE OF SERVICE

                 I, James E. O’Neill, hereby certify that on the 7th day of December, 2021, I
caused a copy of the following document(s) to be served on the individual(s) on the attached
service list(s) in the manner indicated:

                  Modified Emergency Motion of the Official Committee of Tort Claimants
                  Regarding Plan Voting Issues



                                                       /s/ James E. O’Neill
                                                       James E. O’Neill (Bar No. 4042)




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



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